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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-61287-CIV-SMITH/REID

 CARLOS RAMOS,

        Plaintiff,
 vs.

 SHERIFF GREGORY TONY, et al.,

        Defendants.
                                                     /

       ORDER AFFIRMING AND ADOPTING REPORT OF MAGISTRATE JUDGE

        This matter came before the Court upon the Report of Magistrate Judge [DE 7], in which

 Magistrate Judge Reid recommends dismissing Plaintiff’s Complaint without prejudice, under 28

 U.S.C. § 1915(A)(1) for failure to state a claim. No objections were filed to the Report. Having

 reviewed the Report and the record, and given that there are no objections, it is

        ORDERED that:

        1. The Report of Magistrate Judge [DE 7] is AFFIRMED and ADOPTED:

        a. Plaintiff’s Complaint [DE 1,5] is DISMISSED, without prejudice, under 28 U.S.C. §

 1915(A)(1).

        2. This case is CLOSED.

        DONE and ORDERED in Fort Lauderdale, Florida, this 2nd day of November 2020.




 cc:    Pro se Plaintiff
